Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 1 of 25

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. - Civ ( )
MARJAM SUPPLY COMPANY OF
FLORIDA, LLC and MARJAM
SUPPLYCOMPANY,
Plaintiffs,
vs.
PLITEQ, INC., ULTIMATE RB, INC. and
PAUL DOWNEY,

Defendants.

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiffs, MARJAM SUPPLY COMPANY OF FLORIDA, LLC (“MFLA”), a
Florida limited liability company with its principal offices and place of business located at 475
NE 185th Street, Miami Gardens , Florida 33179, and MARJAM SUPPLY COMPANY
(“MNY”) (MFLA and MNY hereinafter are sometimes referred to collectively as “Marjam”),

a New York corporation with its principal oflices and place of business located at 885 Conklin
Street, Farmingdale, New York 11735, by and through their attorneys, Boyes & Farina, P.A. and
Lebensfeld Sharon & Schwartz P.C., and as and for their Complaint herein against the
Defendants PLITEQ, INC.(“Pliteq”), a foreign corporation believed to be incorporated by and
under the laws of the Province of Ontario, Canada, with its principal offices and place of
business located at 1370 Don Mills Road, Unit 300, Toronto, ON, Canada, ULITMATE RB,

INC. (“RB”), an Oregon corporation, with its principal offices and place of business located at

Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 2 of 25

904 NE lOth Avenue, McMinnville, Oregon 97128, and (ii) PAUL DOWNEY, an individual
believed to be residing within the Province of Ontario, Canada, allege as follows:
JURISDICTION AND Vl_<.`.NU§

l. This Court possesses subject matter jurisdiction over Marjam’s claims as
hereinafter set forth, pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1338(b), based upon Federal
question jurisdiction and the Lanham Act, 15 U.S.C. §1125.

2. This Court possesses subject matter jurisdiction over Marjam’s claims, as
hereinaher set forth, pursuant to 28 U.S.C. §133 8(b), based upon the diversity of citizenship
existing between MFLA, MNY and each defendant, and further because the amount in
controversy exceeds the sum or value of $75,000.00.

3. This Court possesses subject matter jurisdiction over Marjam’s claims asserted
pursuant to F.S.A. §501.204 and under the common law, as hereinafter set forth, pursuant to 28
U.S.C. §1367 and the principles of pendent jurisdiction

4. Venue properly is laid in this District pursuant to 28 U.S.C. §1391 (b)(2), in that a
substantial part of the events and omissions giving rise to Marjam’s claims herein occurred in
this District.

THE PARTIES

5. Plaintiff MNY is one of the largest building materials distributors and suppliers in
the United States, operating 35 super centers in 12 States that serve the entire East Coast.
Marjam sells acoustical ceiling systems, doors and frames, windows, roofing, siding, flooring,
insulation, tools, hardware, equipment, wall systems, lumber, plywood, adhesives, masonry and
specialty items to builders, contractors, architects, engineers, governmental bodies and the

public.

Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 3 of 25

6. Plaintiff MFLA, an affiliate of MNY, is one of the largest building materials
distributors and suppliers within the State of Florida. It sells, distributes and supplies, both for
the domestic and export markets, a large range of construction materials and related building
products to builders, contractors, architects, engineers, governmental bodies and to the public at
large in Florida, including in and around Miami-Dade county.

7. Defendant Pliteq is a supplier of rubber sound isolation products which are
manufactured by an unaffiliated company known as Ultimate RB, to Which Pliteq affixes its
private label.

8. Pliteq markets, advertises and sells its products, including the product line which
is the subject of this action and which is sold under the tradename “GenieMat RST,” throughout
the United States, including in South Florida.

9. Upon information and belief, Defendant Downey is the President and Chief
Executive Of`ficer of Pliteq.

lO. Defendant RB is a rubber recycler and manufacturer of recycled rubber acoustical
underlayment for both residential and commercial applications

THE PRODUCTS AND PR_!OR I§LELATIONSHIP OF THE PARTIES

ll. Until in or about August 2015 and for a number of years prior thereto, MFLA and
MNY acted as distributors and suppliers of rubber acoustical underlayment products
manufactured by RB for Pliteq, and purchased by Marjam from Pliteq under the tradename
“GenieMat RST.” Marjam primarily sold the GenieMat RST products within the State of
Florida, and in the States of New York and New Jersey as well.

12. GenieMat RST is a flat rubber, resilient, reduced sound transmission mat which is

utilized directly beneath hard surface floor finishes and over concrete and wood construction, in

Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 4 of 25

order to provide sound attenuation control in multi-family housing, high-rise and commercial
buildings

13. GenieMat RST is manufactured by RB and private labeled to Pliteq in various
thicknesses, each of which having different sound insulation qualities. g Exhibit “A” hereto.

14. RB describes, advertises, warrants, represents and sells it recycled rubber
acoustical underlayment products “in thicknesses from 2mm to 12mm for both residential and
commercial applications.” §ee Exhibit “B” hereto.

15. Pliteq describes, advertises, warrants and represents its GenieMat RST line of
rubber acoustical underlayment products to the trade and public, including to its distributors and
re-sellers (such as Marjam): (i) to be of certain specified thicknesses (;g., GenieMat RST02 is
represented by Pliteq as having a thickness of 2 mm; GenieMat RSTOS is represented by Pliteq
as having a thickness of 5 mm; and GenieMat RSTl 0 is represented by Pliteq as having a
thickness of 10 mm); (ii) after laboratory testing as possessing certain “STC Ratings,” i._e.,
having specific “sound transmission coefficients” and (iii) as having a specific effectiveness for
floor coverings in reducing impact sound transmission through concrete floors.

16. Pliteq describes, advertises, Warrants and represents its GenieMat RST product
line to the trade and public, including its distributors and re-sellers (such as Marjam), as follows:
“It’s not magic, it’s engineering.” In fact and as described herein below, a more apt description
of Pliteq’s GenieMat RST product line would be: “It’s not magic, it’s fraud.”

MARJAM’S SALE OF GENIEMAT RST AND DISCOVERY OF PLITEQ’S

AND RB’S FALSE, FRAUDULENT AND MISLEADING DESCRIPTIONS

OF THE PRODUCT LINE AND MISREPRESENTATIONS OF FACT
17. During the years 2013-2015, Marjam purchased approximately $1.6 million of

GenieMat RST products from Pliteq (in various iterations of represented thicknesses, and having

Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 5 of 25

certain sound insulation attributes depending upon the thickness of the represented specific
GenieMat RST product purchased). The GenieMat RST products purchased by Marjam
generally Were specified by Marjam’s customers’ architects, engineers and/or owners, and were
sold by Marjam primarily for use in numerous high-rise apartment and condominium projects
under construction within South Florida and in particular, Miami.

18. In July 2015, Marjam purchased from Pliteq 256,000 square feet of GenieMat
RST12, which was advertised and represented by Pliteq to have a thickness of 12 mm and to
result in an STC rating of 52, Marjam sold that product to its customer, General Property
Construction of Doral, Florida, a sub-contractor retained by Suffolk Construction (the general
contractor) and ZOM Living (the developer; collectively, “ZOM”), who were then constructing
a new high-rise residential condominium project in Miami known as the “Met 3 Proj ect” (the
“Met 3 Order”).

19. GenieMat RST12 was to be utilized by ZOM in the Met 3 Project as the sound
attenuation underlayment to be placed and glued to the concrete floors of the hi gh-rise building,
which then would be covered with finished flooring in order to provide adequate sound
insulation for the occupants of each of its condominium units.

20. ZOM’s acoustical engineers specified the thickness of the sound insulation
underlayment required and the STC rating and, based upon those specifications, MFLA
purchased the required GenieMat RST12 products from Pliteq - Which were manufactured by
RB - specifically to fulfill the Met 3 Order.

21. Following Marj am’s purchase and delivery to ZOM of the required quantity of
GenieMat RST12, ZOM’s acoustical engineers tested the products on site and discovered that

instead of the product having an STC rating of 52, it actually only had an STC rating of 47 or

Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 6 of 25

less. As a consequence, GenieMat RST12 did not provide the required sound insulation
attributes necessary for the Met 3 Proj ect.

22. As a direct result of the foregoing events, ZOM cancelled the MET 3 Order,
returned the mislabeled and mis-described GenieMat RST12 products to Marj am, and instead
purchased a competitive product (Proflex RU-125 acoustical underlayment) from one of
Marjam’s competitors, which product achieved the STC levels required by ZOM and its
acoustical engineers

23. By reason of the foregoing, MFLA lost profits on the cancelled sale of the
GenieMat RST12 products to ZOM in the amount of $87,040.00, in addition to sustaining
substantial actual damages and incidental costs and expenses. Furthermore, because of Pliteq’s
and RB’s mis-description and misrepresentation of the product, Marj am cannot responsibly re-
sell those products as they are defective and falsely described.

24. Upon Marjam’s subsequent testing of the GenieMat RST product line, it further
discovered, among other things and by way of example only, that GenieMat RST02 sound
insulation underlayment, advertised and represented by Pliteq as having a thickness of 2 mm and
purportedly providing a 16 decibel reduction in impact sound transmission, actually is only 1.85
mm thick or less, and provides significantly less impact sound protection. Similarly, Pliteq’s
GenieMat RST05 product line, advertised and represented by Pliteq as having a thickness of 5
mm and providing a 19 decibel purported reduction in impact sound transmission, actually has a
thickness of only 4.8 mm or less, and provides significantly reduced sound attenuation.

25. Furthermore, Pliteq’s “Data Sheets” and “Product Specifications” for its

GenieMat RST line of products which have been, and are continuing to be, published on its

Case 1:15-CV-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 7 of 25

website, and/or otherwise disseminated to the trade and public (including Marjam), are
inherently fraudulent and misleading in other significant respects.

26. By way of example, GenieMat RST02 is described, represented and sold by Pliteq
to be “GenieMat RST02 1/8.” One-eighth of an inch actually equals 3.175 mm in thickness,
which is even greater than the misrepresented “2mm” advertised.

27. Upon investigation, Marjam further has discovered that Pliteq intentionally and
knowingly orders rubber acoustical underlayment products from RB for shipment to Marjam and
perhaps others, with specific instructions to RB to mislabel the products as to thickness, an
unlawful request with which Ultimate RB knowingly complied and implemented.

28. Marjam has discovered that Pliteq ordered acoustical underlayment products from
RB described as RB’s “black 1068 48 M” product (emphasis supplied), and directed RB to
mislabel it as “GenieMat RST02,” Which product Pliteq advertises and represents to the trade
and public, including Marjam, as being ZM or more in thickness - a fact well-known to RB.

29. Similarly, Pliteq ordered acoustical underlayment products from RB described as

RB’s “black 1065 48 SMM ” and directed RB to mislabel the product as “GenieMat RST06,”

 

which product Pliteq advertises and represents to the trade and public, including Marjam, as
being 6_m_m or more in thickness. - another fact well-known to RB.

30. Finally, Marjam has discovered that Pliteq’s acoustical test results for its
GenieMat RST product line, as advertised, published and represented in its “Data Sheets” and
“Product Specifications,” are false and fraudulent and/or intentionally misleading, in that the test
results fail to disclose that the products were tested without adherence to an under floor with
glue, the approved and standard method of utilization of the products, thereby resulting in an

overstatement of their sound attention qualities. When properly tested and installed with glue as

Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 8 of 25

utilized in actual installations, GenieMat RST products produce significantly less sound
attenuation - a fact well-known to both RB and Pliteq.

31. Marjam reasonably estimates that it has suffered in excess of $320,000 in actual
damages, measured by the imputed differences in the relative prices applicable to the varying
misrepresented thicknesses of the GenieMat RST products it has purchased from Pliteq.
Additionally, Marjam has suffered additional actual damages by reason of the unsaleable
inventory of GenieMat RST products presently remaining in its inventory, aggregating
approximately $50,000.

32. Upon information and belief, RB’s and Pliteq’s intentional, fraudulent and
deceptive advertising and misrepresentation of the GenieMat RST product line to Marjam and
other similarly situated purchasers and to the consuming public as aforesaid, has been, and
continues to be, knowingly and purposely directed and implemented by Downey.

AS AND FOR A FIRST CAUSE OF ACTION -
VIOLATION OF FLORIDA’S DECEPTIVE AND UNFA!R
TRADE PRACTICES ACT AGAINST ALL DEFENDANTS

33. Marjam repeats and realleges paragraphs “l” through “32” of this Complaint as if
here fully set forth.

34. RB’s, Pliteq’s and Downey’s intentional and fraudulent conduct, as hereinabove
set forth, constitute unfair methods of competition, unconscionable acts or practices, and unfair
and deceptive acts or practices in the conduct of a trade or commerce, in violation of Florida’s
Deceptive and Unfair Trade Practices Act, F.S.A. §501.24 (“FDUTPA”).

35. As a proximate result of RB’s, Pliteq’s and Downey’s multiple violations of the

FDUTPA as aforesaid, MFLA and MNY have suffered substantial actual damages in excess of

Case 1:15-CV-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 9 of 25

$320,000, the precise amount of which to be established during discovery and to be presented at
trial.

36. RB’s, Pliteq’s and Downey’s unlawful actions as aforesaid were, and continue to
be, undertaken intentionally and maliciously, and in wanton and willful disregard of the rights of
Marjam, the trade and the public.

AS AND FOR A SECOND CAUSE OF ACTION -
VIOLATION OF THE LANHAM ACT AGAINST ALL DEFENDANTS

37. Marjam repeats and realleges paragraphs “l” through “32” of this Complaint as if
here fully set forth.

38. In connection with their sale of GenieMat RST products, Pliteq and Downey have
utilized, and continue to utilize, false and misleading descriptions of fact, and/or false or
misleading representations of fact, with regard to the subject products, as hereinabove set forth.

39. Pliteq’s and Downey’s utilization of false and misleading descriptions of fact,
and/or false or misleading representations of fact, with regard to their GenieMat RST line of
products in commercial advertising or promotion, has misrepresented and continues to
misrepresent, the true nature, characteristics and qualities of Pliteq’s goods, services and
commercial activities.

40. RB’s, Pliteq’s and Downey’s intentional and fraudulent conduct, as hereinabove
set forth, constitute multiple violations of Section 43(a) of the Lanham Act, 15 U.S.C.A.
§1125(a)(1).

41. As a proximate result of RB’s, Pliteq’s and Downey’s multiple violations of the
Lanham Act as aforesaid, MFLA and MNY have suffered substantial damages in excess of
$457,040, the precise amount of which to be established during discovery and to be presented at

trial.

Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 10 of 25

42. Pliteq’s and Downey’s unlawful actions as aforesaid Were, and continue to be,
undertaken intentionally and maliciously, and in wanton and Willful disregard of the rights of
Marjam, the trade and the public,

AS AND FOR A THIRD CAUSE OF ACTION -
§REACH OF l_EXPRl_?.SS WARR_ANTY AGAINST PLITEQ

43. Marjam repeats and realleges paragraphs “1” through “32” of this Complaint as if
here fully set forth.

44. In connection with the sale of GenieMat RST products to Marj am, Pliteq made
affirmations of fact and promises to Marjam that the products conformed to its “Data Sheets”
and “Product Specifications” as hereinabove detailed and set forth.

45. In connection with the sale of GenieMat RST products to Marj am, Pliteq
represented to Marjam that the description of the goods set forth in its “Data Sheets” and
“Product Specifications” was accurate and truthful.

46. Pliteq’s aforesaid affirmations of fact, promises and representations constituted
part of the basis of the bargain between Pliteq and Marjam.

47. Pliteq’s affirmations of fact, promises and representations as aforesaid constituted
express warranties pursuant to F.S.A. §672.313 of Florida’s Uniform Commercial Ccde, which
were breached.

48. As a proximate result of Pliteq’s breaches of its express warranties as aforesaid,
MFLA and MNY have suffered substantial damages in excess of $457,040, the precise amount

of which to be established during discovery and to be presented at trial.

10

Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 11 of 25

AS AND FOR A FOURTH CAUSE OF ACTION - BREACH OF
IMPLIED WARRANTY OF MERCHANTABILITY AGAINST PLITEQ

49. Marjam repeats and realleges paragraphs “l” through “32” of this Complaint as if
here fully set forth.

50. Pliteq was a “merchant” with respect to the sales of GenieMat RST products to
Marjam.

51. Pursuant to F.S.A. §672.3 14 of Florida’s Uniform Commercial Code, implied in
the agreement(s) for the sale of GenieMat RST products by Pliteq to Marjam, as hereinabove set
forth, Were warranties that the subject products were merchantable in that they Would pass
without objection in the trade under the contract description, Were of fair average quality within
the description, were fit for the ordinary purposes for which they were to be used, and were
adequately labelled and conformed to the promises and affirmations of fact made by Pliteq on
their labels.

52. As hereinabove described, the GenieMat RST products sold by Pliteq to Marjam
materially failed to comply with the warranty of merchantability implied in the agreement(s) of
sale between Pliteq and Marjam.

53. As a proximate result of Pliteq’s breaches of the implied warranty of
merchantability as aforesaid, MFLA and MNY have suffered substantial damages in excess of
$457,040, the precise amount of which to be established during discovery and to be presented at
trial.

AS AND FOR A FIFTH CAUSE OF ACTION - BREACH OF IMPLIED
WARRANTY OF FITNESS FOR PARTICULAR PURPOSE AGAINST PLITEQ

54. Marjam repeats and realleges paragraphs “l” through “32” of this Complaint as if

here fully set forth.

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Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 12 of 25

55 . At the times Pliteq agreed with and sold GenieMat RST products to Marjam as
aforesaid, Pliteq had reason to know of the particular purpose for Which the goods were required,
and that Marjam was relying on Pliteq’s skill or judgment to select or furnish suitable goods.

56. As hereinabove set forth, the GenieMat RST products sold to Marjam by Pliteq
were not fit for the particular purpose for which the goods were required and in particular, in
connection with the Met 3 Order, all in violation of F.S.A. §672.3 14 of Florida’s Uniform
Commercial Code.

57. As a proximate result of Pliteq’s breaches of the implied warranty of fitness for a
particular purpose as aforesaid, MFLA and MNY have suffered substantial damages in excess of

$457,040, the precise amount of which to be established during discovery and to be presented at

 

trial.
AS AND FOR A SIXTH CAUSE OF ACTION -
COMMON LAW FRAUD AGAINST PLITEO AND l_)OWNEY
58. Marjam repeats and realleges paragraphs “1” through “32” of this Complaint as if
here fully set forth.

59. Pliteq’s statements of fact as aforesaid with respect to the thicknesses and sound
attenuation qualities of the GenieMat RST products purchased by Marjam were false.

60. At the time Pliteq made the statements of fact intending Marjam to rely thereon,
Pliteq knew that they were false.

61. Marjam justifiably relied on Pliteq’s statements of fact.

62. Pliteq, at Downey’s express direction and with his knowledge, made the aforesaid
statements of fact intentionally and maliciously, and in wanton and willful disregard of the rights

of Marjam, the trade and the public,

12

Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 13 of 25

63. As a proximate result of Pliteq’s and Downey’s fraudulent conduct as aforesaid,
MFLA and MNY have suffered substantial damages in excess of $457,040, the precise amount
of which to be established during discovery and to be presented at trial.

AS AND FOR A SEVENTH CAUSE OF ACTION -
BREACH OF CONTRACT AGAINST PLITEQ

64. Marjam repeats and realleges paragraphs “l” through “32” of this Complaint as if
here fi.illy set forth.

65. Pliteq’s actions and conduct as hereinabove set forth, constituted material
breaches of its agreement(s) with Marjam for the sale and delivery of the GenieMat RST
products.

66. As a proximate result of Pliteq’s breaches of contract as aforesaid, MFLA and
MNY have suffered substantial damages in excess of $457,040, the precise amount of which to
be established during discovery and to be presented at trial.

AS AND FOR AN EIGHTH CAUSE OF ACTION -
CIVIL CONSPIRACY AGAINST ALL DEFENDANTS

67. Marjam repeats and realleges paragraphs “l” through “32” of this Complaint as if
here fully set forth.

68. RB, Pliteq and Downey knowingly, purposely and actively conspired to cheat,
defraud and injure Marjam, as hereinabove set forth,

69. As a proximate result of RB’s, Pliteq’s and Downey’s civil conspiracy as
aforesaid, MFLA and MNY have suffered substantial damages in excess of $457,040, the precise
amount of which to be established during discovery and to be presented at trial.

WHEREFORE, MFLA and MNY demand judgment as follows:

I. On its First Cause of Action against RB, Pliteq and Downey, jointly and severally:

13

Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 14 of 25

II.

A. For an award of actual damages, together with interest thereon;
B. For an award of punitive damages in an amount to be determined by the
Court;

C. Pursuant to F.S.A. §501.213, preliminarily and permanently enjoining and
restraining RB, Pliteq and Downey, and each and all of their respective
shareholders, directors, officers, members, managers, representatives, employees
and agents from, directly or indirectly, continuing to violate the FDTUPA by
falsely and misleadingly describing the characteristics, thicknesses and qualities
of the GenieMat RST line of products;

D. Ordering and directing RB, Pliteq and Downey, jointly and severally, to
indemnify Marjam, and any and all of its affiliates, shareholders, directors,
officers, managers, members, employees and agents from and against any and all
claims, causes of action, suits and obligations arising from or out of Marjam’s
sale of mis-labelled or defective GenieMat RST products, including reasonable
attomey’s fees, expert fees and litigation costs;

E. Pursuant to F.S.A. §501.2015, for an award of reasonable attomey’s fees and
litigation costs of this action; and

F. For such other and further relief and whether of a legal or equitable nature
as the Court deems necessary and appropriate under the circumstances

On its Second Cause of Action against RB, Pliteq and Downey, jointly and severally:

A. F or an award of compensatory, consequential and incidental damages, together
with interest thereon;

B. Pursuant to 15 U.S.C. A. §1117(a), for an award of actual damages in an amount
not exceeding three (3) times the amount of said damages.

C. Preliminarily and permanently enjoining and restraining RB, Pliteq and Downey,
and each and all of their respective shareholders, directors, officers, members,
managers, representatives, employees and agents from, directly or indirectly,
continuing to violate the Lanham Act by falsely and misleadingly describing the
characteristics, thicknesses and qualities of the GenieMat RST line of products;

D. Ordering and directing RB, Pliteq and Downey, jointly and severally, to
indemnify Marjam, and any and all of its affiliates, shareholders, directors,
officers, managers, members, employees and agents from and against any and all
claims, causes of action, suits and obligations arising from or out of Marjam’s
sale of mis-labelled or defective GenieMat RST products, including reasonable
attomey’s fees, expert fees and litigation costs;

14

Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 15 of 25

Pursuant to 15 U.S.C. A. §1117(a), for an award of reasonable attomey’s fees and
the litigation costs of this litigation; and

For such other and further relief and whether of a legal or equitable nature
as the Court deems necessary and appropriate under the circumstances

III. On its Third, Fourth, Fifih and Seventh Causes of Action against Pliteq:

A.

For an award of compensatory, consequential and incidental damages, together
with interest thereon;

Preliminarily and permanently enjoining and restraining RB, Pliteq and Downey,
and each and all of their respective shareholders, directors, officers, members,
managers, representatives, employees and agents from, directly or indirectly,
continuing to falsely and misleadingly describe the characteristics, thicknesses
and qualities of the GenieMat RST line of products;

Ordering and directing RB, Pliteq and Downey, jointly and severally, to
indemnify Marjam, and any and all of its affiliates, shareholders, directors,
officers, managers, members, employees and agents from and against any and all
claims, causes of action, suits and obligations arising from or out of Marj am’s
sale of mis-labelled or defective GenieMat RST products, including reasonable
attomey’s fees, expert fees and litigation costs; and

For such other and further relief and whether of a legal or equitable nature
as the Court deems necessary and appropriate under the circumstances

IV. On its Sixth Cause of Action against Pliteq and Downey, jointly and severally:

A.

For an award of compensatory, consequential and incidental damages, together
with interest thereon;

For an award of punitive damages in an amount to be determined by the
Court;

Preliminarily and permanently enjoining and restraining RB, Pliteq and Downey,
and each and all of their respective shareholders, directors, officers, members,
managers, representatives, employees and agents f`rom, directly or indirectly,
continuing to falsely and misleadingly describe the characteristics, thicknesses
and qualities of the GenieMat RST line of products; \

Ordering and directing RB, Pliteq and Downey, jointly and severally, to
indemnify Marjam, and any and all of its affiliates, shareholders, directors,
officers, managers, members, employees and agents from and against any and all
claims, causes of action, suits and obligations arising from or out of Marjam’s

15

Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 16 of 25

sale of mis-labelled or defective GenieMat RST products, including reasonable
attomey’s fees, expert fees and litigation costs; and

For such other and further relief and whether of a legal or equitable nature
as the Court deems necessary and appropriate under the circumstances; and

V. On its Eighth Cause of Action against RB, Pliteq and Downey, jointly and severally:

A.

For an award of compensatory, consequential and incidental damages, together
with interest thereon;

For an award of punitive damages in an amount to be determined by the
Court;

Preliminarily and permanently enjoining and restraining RB, Pliteq and Downey,
and each and all of their respective shareholders, directors, officers, members,
managers, representatives employees and agents from, directly or indirectly,
continuing to falsely and misleadingly describe the characteristics, thicknesses
and qualities of the GenieMat RST line of products;

Ordering and directing RB, Pliteq and Downey, jointly and severally, to
indemnify Marjam, and any and all of its affiliates shareholders directors,
officers, managers, members employees and agents from and against any and all
claims, causes of action, suits and obligations arising from or out of Marjam’s
sale of mis-labelled or defective GenieMat RST products, including reasonable
attomey’s fees, expert fees and litigation costs;

For such other and further relief and whether of a legal or equitable nature
as the Court deems necessary and appropriate under the circumstances

Dated: November 23, 2015 Respectfully Submitted,

BOYES, FARINA & MATWICZYK

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' . m Beach Gardens, FL 33410

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16

Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 17 of 25

17

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Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 18 of 25

Exhibit A

Case 1:15-cv-24363-K|\/|W Document 1 Entered on FLSD Docket 11/24/2015 Page 19 of 25

iv PLITECJ

GENlEMAT‘““

 

GenieMatTM RST
Under|ayment for
Reduced Sound
Transmission..

  
   

lt's not magic, it's engineering.TM v

Case 1:15-cv-24363-Kl\/|W Document 1 Entered on FLSD Docl<et 11/24/2015 Page 20 of 25

GenieMatT"" RST

Sound Contro| Under|ayment

From the inventor of the patented technology (US Patent RE:41,945)
for recycled rubber used for impact sound insulation, directly below
floor coverings

GenieMat“*‘ RST is a flat, resilient, reduced sound
transmission mat made from 940/n recycled rubber
content, used directly under hard surface floor finishes
and over concrete and vvood construction.

lt is used When superior sound control is required
in multi-fami|y housing, high-rises or commercial
buildings and protects ceramic tilel porcelain and stone
from substrate cracks.

Engineered for direct adhered floor coverings such as
tile, stone, vvood, and vinyl floor coverings

 

'l'i{e - Al| products rated for minimum of Commercial use. ANS| standard 118.12
Wood - GenieMat FAS adhesives offer superior bonding |AQ test (ASTM 951 i5)
strength.

LEED accreditation: up to 10 points

Vinyl - One-step method provides superior sound control
for resilient floor coverings

Complete floor covering system Warranty available.

Product Specifications

         

RST02 2mrn 4' x 75’ 157 ll.llN/m3 40 durometer Heavy commercial

RSTO§ 5mm 4' x 30' 105 MN/m?' 40 durometer Moderate commercial
RSTlO 10mm 4' x 15' 64 lt/lN/m5 40 durometer Light commercial
RSle 12mm 4' x 15' 60 ll}lN/m3 40 durometer Light commercial

RST15 15mm 4' x 15' 54 l\/lN/rn3 l 50 durometer Light commercial

 

Case 1:15-cv-24363-Kl\/|W Document 1 Entered on FLSD Docl<et 11/24/2015 Page 21 of 25

Positive adhesive lock ~ for very high bond
strengths vvith adhered floor coverings

Tile Floor

 

 

 

v PLITEEJ

Rubber is the BEST vibration isolation material

Compression Set: 4°/0
l.oss Factor for Damping: 200/o

 

 

 

 

 

 

Slee| Slucl Typiccrl

  
  
  
     
 

vasum Boorcl
Bcrsebocrrd

GenieClip"" ACS
Acousticol Seoionl
los requireci]

Ti|e Floor
C_`-enier\.»lr:il“'1 PM|

  
 

rhinsei Morrcr rANsl neal

GenieMoiY"' RSTOS {.Smm:-

 

 

 

Perimeler lsolotion Slrip
UA“ gee
Genlerv\crlTM FAS Adhesive

 

 

d q a or Thinset Morlcir (ANSI 1 18.4)
4 <r \

Concreie Slob

m

Vinyl Sheet, Plank, Tile Floor

wood sma rypicai
/ G'Vpsum B°°'d "' Contoct Pliteq Engineering Dept.
/ Boseboord for alternative insiollcrtion methods

GenieClip“" ACS
Acousticol Seoic:nl

(os required] Vinv| Sheel. Plonl<, THe F|oor

GenieMol"" PM1 GenieMoi"" FAS Adhesive

 

 

 

Perirneler lsolcriion Slrip _
w GenieMoF"‘ RST05 (Smm]

4"9<,9

GenieMoi"M FAS Adhesive

 

 

 

xx Subfloor

l\ /l\ Floor Jo‘lst Typico|

Case 1:15-cv-24363-Kl\/|W Document 1 Entered on FLSD Docl<et 11/24/2015 Page 22 of 25

ASTM 52119 - Standard Test Method for Laboratory Measurement of the Etfectiveness of Floor
Coverings in Reducing lmpact Sound 'l'ransmission 'l'lrrough Concrete Floors
(6" concrete slab with ttle)
Pl'd¢lll€f All listed thicknesses are nominal in imperial measure Allc (dB)

 

 

 

 

 

    

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

GenieMat"‘ ltle 1/2" €- \» - ~ .. .. .. ~ ~B 23 do
GenieMat"' RSTlo 3/8” § - ,.,3 21 do
GenieMat'“ RS'|'05 l/ ” 6 5 19 do
WE Cork 1/2” 5 »-- » r» 5 18 dB
GeniBMBf"‘ R$'l'oz 1/8" ff »»,~~~.~ ...… \. ».. ,» ¢j} 15 de
WECork1/4" €: v ~ -2 14 dB
Ea§yMatm 1/2" § " . : ~ - ` 1 , ,3 14 dB
Whisper l\/latl CS 1/8" § 3 12 dB
EasyMat“' 1/4" € 3 11 dB
Prof|ex"‘ SOMSC 1/8" if . ., ~ t l 43 10 dB
NobleSeal“‘ SlS 1/16" € ». ~ ~ l ~ j 13 9dB
Protecto~Wrap" 1/8" t s t .' .~ ll 9dB
Mapelastic“‘ SM 1/16" ~ l » ~ . . ____,___' " 6 dB
super sArvr r/rs" €::.°.:D 4 de
l r l 1 ' l l \ l l | i 1 r 1 l : ! 1 z l r l l r l
0 dB 5 dB 10 dB 15 dB 20 dB 25 dB
Acoustical Testing Standards - Concrete Structure
GenieMat Flnlsh Concrete $lab |lC listing STC Rating Delta llc
lll'oduct Floor Thiclmess (AS‘|'M 6492) (AS`|'M EBU) (ASTM E2119)
RST05 Sheet Vinyl 6" 53 53 23
RST05 Vinyl Plank 6" 50 53 22
RST10 Vinyl Plank 6" 51 53 23
RST10 Ceramic Tile 6" 50 52 21
RST12 Ceramic Tile 6" 53 52 23
RST02 Wood 8" 54 58 n/a
RST05 Wood 8" 56 58 n/a
RST10 Wood 8" 56 58 n/a
RST02 Vinyl P|ank 8" 52 58 n/a
RST05 Vinyl Plank 8" 55 58 n/a
RSTIO Vinyl Plank 8' 56 58 n/a
RST05 Ceramlc Tile 8' 50 55 n/a
RSTIO Ceramic Tile B" 53 55 n/a
Acoustical Testing Standards - Wood Structure _
GenieMat Finlsh Wood UL tolling llC STC
Product Floor lolst $ubtlcor 'lype (El$z) (690)
RST02 Tile Truss 1/4" Gypsum Concrete GenieClip 55 55
RST02 Tile Truss Plywood GenieC|ip 55 53
RST02 Wood Truss Plywood GenieClip 52 53
RST02 Tile TJI Plywood GenieClip 57 54
RST02 Vinyl TJ| Plywood GenieClip 53 54
RSTD2 Wood Tll Plywood GenieClip 56 54
RST02 Vinyl Tll 1/4" Gypsum Concrete GenieClip 52 54
RST02 Tile Tll 314" Gypsum Concrete Resilient Channel 46 54
RST02 Tile T.tl 3/¢" Gypsum Concrete GenieClip 53 54
RST05 Wood Tll Plywood GenieClip 50 (Arrc per Asm moon n/a
RST10 Laminate Truss 3/4" Gypsum concrete Resilient Channel 49 (ruc per ner noon n/a

  

GenieMat"‘ is a trademark nl Pliteq tnc.
the inlermation provided is accurate to the best of
our knowledge al the time nl printing
However, we reserve the right la make changes
when necessary without noriilr:arlnn.

      
 

  

Case 1:15-cv-24363-Kl\/|W Document 1 Entered on FLSD Docl<et 11/24/2015 Page 23 of 25

Exhibit B

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r'\lmut Us OIrtsrancling Fe;llures literature Nm

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Ah ACCEtLA CDM|'AN\‘

 

PRODUCTS APPL|CAT!ONS Ctdi
PRODUCTS APPL|CAT|ONS CUSTOM|ZAT|ON ABOUT US L|TERATURE NEWS l

CONTACT

name » Apnlirarlnns » Acnust:¢

ACOUST|CAI_\1_1NDERLAYl\/IE1\|T

 

 

Underlayment made from recycled rubber offers sound absorption characteristics that are unmatchc
any other materia|.

The sound deadening characteristics of recycied rubber are unrivaled and widely recognized and Ultimate RB is proud to offer a complete spec
recycled rubber acoustical underlayment nvai|ab|e in thicknesses from 2mm to 12mm for both residential and commercial application.~=.l Ultima
a sound solution for your requirements This underlayment is also widely used as a base mar for Pad & Pour urethane systems in schools ano' r

C€l"-l'EI‘S,

Si|ent Tread Commercia| Under|ayment
S|LEl\li' TREAD COl\/ll\/lERC|AL UNDERLAYMENT

For very demanding commercial applications Ultimate RB manufactur
of under aymenrs in thicknesses up to 14mm

 

These products are used in high-rise Lli 'il:`v-i.'\ii' P,EN|'.F
condominiums hotels office buildings and other - ECO-FFHEND!
commercial structures that must meet the Bui|ding 1 DURABLE
Code requirements for sound transmission from » EASV lNSTALi
floor to f|oor. ' EASY TO CLE,
\ AMERchN iv
Silent Tread Commercial Under|ayments are . CUSTOM Cgl
compatible with a variety of flooring materials . rcny MORE >
including hardwood. engineered wood and rile.
Ulrirnare Appiioariong; They are also compatible with a Wide variety of TYPlCAL PRO
su b-f|oor configurations |NSTALi-AT|O
MA|NTENAN[
|NSTRUCT|Oi
Being made from recycled tires Silent-Tread WARRANTY

Commercial Under|ayments qualify for Executive
Order 1310'1. and their use can contribute toward
LEED Green Bui|ding Council Certification.

Experr advice is available to help our clients choose the correct underlayl
their particular needs This service can include on-site consultations wirl

http://www.ultimaterb.com/applications/acoustical-underlayment/ 1 1/19/2015

CASC%ulSith;§l-ciyd§é,§£/§H§nlylwlltl[r)rpa £u@§nt 1 Entered on FLSD Docl<et 11/24/2015 Pagdegez§©ot§&$

contractors and acoustical engineers. We can also provide on-site acous
to verify the performance of our product in any building.

Mi||ions of square feet of our acoustical underlayment have been succe:
installed in many of the most upscaie condominiumsl hotels/resorts ant
buildings in the United States.

Silent Tread Residentia| Under|ayment

  

S|LENT TREAD RES|DENT|A|_ UNDERLAY|`\/|ENT

Ultimate RB produces a 2mm acoustical Lil_i'!!df-\TE -i`:`l:NEi
underlayment for use in residential applications - ECO-FR|END|
involving laminate. hardwood and engineered - DURAELE
wood flooring. - EASY |NSTALl
- EASY TD CLEi
Outstanding features of this product include: . AMER|CAN w
` _ - CUSTOM CO|
' Superlor Nolse Reductlon. Ultimate RB Siient- , AND MORE §
Tread outperformed the competition in head-
to-head field testing for noise reduction |t has
three times the sound dampening weight of TYp'CAL PRO
competing products instAtLATio
MA:NTENANt
' MoistureNapor Protection: This product is iNSTRUCTiOt
available with or Withouta vapor barrier, The WARRANTY

Ultimate App!ications' version with the vapor barrier, Silent»Tread XL,
has a laminated potypropylene film that
prevents flooring damage due to vapor transmission through a con-
floor.

Crush-Proof: Silent-Tread's durable rubber material will not be crus
degraded by the fiooring system. lt will retain its noise reduction cal
the life ofthe floor.

Er\vironmental|y Responslble: E!eing made from recycled tires Ult
Silent-Tread qualifies for Executive Order 13101, and it can help tom
Green Bui|ding Councii certification

- Mo|dlMildew Preventlon: Silent-Tread incorporates an anti-microl
ingredient to help prevent the growth of harmful mo!d. mildew and
accordance with nationally recognized standards

Ease of lr\sta|latlon: Supei'ior density allows the product to lay fiat
installation process

Warranty: ultimate RB Silent-Tread Resideritial underlayments are
our industry-feeding 20 ‘i'ear Limited Warranty.

Pad & Pour Base Mat
` eeo at eouR aAsE ivi/-\T

Ultimate RB’s acoustical underlayment is also widely used as a base m
di Pour urethane flooring systems

 

This type offlooring is commonly used in ali» LiLTiii.-iATE BEi`-.'Ei

purpose gym facilities for schools and community » ECO-FRlENDl
centers anough our afn|‘iation with urethane - DURABLE

producer, MarChem, Ultimate RB is uniquety - EASY lNSTAL|

positioned to provide a combination of base mat - EASY TU CLE,

and urethane coatings that no other manufacturer - AMER|CAN |Vi

can match. - CUSTOM COi

- AND MORE >

T`rPJCAL PRO

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MA|NTENAN¢

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http:/fwww.ultimaterb.com/applicationsi'eooustioal~underlayment/ l 1/19/2015

